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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,


                         v.
                                                                 No. 1:22-cr-00166-MAU
 JOHN GEORGE TODD III,

                         Defendant.

                                        PRETRIAL ORDER

        Trial in this case shall begin on October 17, 2023, at 9:30 a.m. in Courtroom 5. A pretrial

conference is scheduled for October 10, 2023, at 11 a.m. in Courtroom 5. A pretrial motions

hearing is scheduled for September 20, 2023, at 11 a.m. in Courtroom 5. To administer the trial

in this criminal case as efficiently as possible, it is hereby

        ORDERED that any pretrial motions, including motions in limine, are due by August 15,

2023. Oppositions shall be filed by August 29, 2023. Replies shall be filed by September 6,

2023. It is further

        ORDERED that the Government shall make any expert disclosures required by Federal

Rule of Criminal Procedure Rule 16(a)(1)(G) by August 1, 2023.              Any reciprocal expert

disclosures by Defendant pursuant to Rule 16(b)(1)(C) shall be made by August 15, 2023. Any

expert disclosures by the Government made in rebuttal to the Defendant’s timely expert disclosures

shall be made by September 1, 2023. It is further

        ORDERED that the Government shall notify Defendant of its intention to introduce any

Federal Rule of Evidence 404(b) evidence not already disclosed by August 1, 2023. It is further

        ORDERED that Defendant shall satisfy his reciprocal discovery obligations, if any, under

Federal Rule of Criminal Procedure 16(b), except as to experts, by August 15, 2023. The
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Government shall also satisfy its discovery obligations under Rule 16 by August 15, 2023. It is

further

   ORDERED that the Parties shall exchange exhibit lists and copies of the specific exhibits they

intend to use at trial by September 26, 2023. The lists shall consist of all exhibits that the Parties

intend to use in their cases-in-chief. The Parties shall meet and confer by September 21, 2023,

regarding any objections to the proposed exhibits to narrow the issues in dispute before filing. All

exhibits are to be marked in advance of trial. It is further

   ORDERED that the Parties shall jointly file the following on the public docket by October 3,

2023:

   a. Written Statements (1) by the Government setting forth the terms of any plea offer made

          to Defendant and the date such offer was made and lapsed; and (2) by Defense Counsel

          indicating (i) the dates on which the terms of any plea offer were communicated to

          Defendant and rejected, see Missouri v. Frye, 566 U.S. 134, 145 (2012) (“[D]efense

          counsel has the duty to communicate formal offers from the prosecution to accept a plea

          on terms and conditions that may be favorable to the accused.”), and (ii) the potential

          sentencing exposure communicated by Defense Counsel to Defendant and the date on

          which such communication occurred, see United States v. Rashad, 331 F.3d 908, 912 (D.C.

          Cir. 2003);

   b. List of Expert Witnesses accompanied by a brief description of each witness’s area of

          expertise and expected testimony, followed by specific objections (if any) to each witness;

   c. List of Prior Convictions that the Government intends to use for impeachment or any other

          purpose, followed by specific objections (if any) to that use;




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   d. List of Exhibits that the Parties intend to use during their cases-in-chief, with a brief

       description of each exhibit, followed by specific objections (if any) to each exhibit;

   e. Copies of any exhibits in dispute; and

   f. Any stipulations executed or anticipated to be executed.

       It is further

    ORDERED that by October 6, 2023, at 4 p.m., Counsel shall jointly submit to the Courtroom

Deputy and email to Chambers a single, agreed-upon set of trial materials. Two physical courtesy

copies shall be delivered to the Courtroom Deputy in a three-ring binder with each section

separated by labeled tab dividers. Counsel shall also email an electronic copy of these materials

to Upadhyaya_Chambers@dcd.uscourts.gov. The materials shall be single-sided, double-spaced,

in 12-point Times New Roman font, in Microsoft Word or PDF format. The trial materials shall

contain the following:

    a. List of Witnesses: The Parties shall identify the witnesses that each side anticipates it may

        call in its case-in-chief. Only upon prior leave of court and a showing of good cause will

        a party be permitted to withhold a witness’s identity.

    b. Exhibit List: The Parties shall include the Exhibit List outlined above.

    c. Copies of Exhibits: The exhibits shall be pre-marked and provided in color, to the extent

        practicable. The Parties need not provide physical copies of video exhibits but must

        include them in their email submission to Chambers. It is further

    ORDERED that counsel shall observe the trial procedures listed in Attachment A.

    SO ORDERED.
                                                                     Moxila A. Upadhyaya
                                                                     2023.05.26 09:10:12
Date: May 26, 2023                                                   -04'00'
                                                     _______________________________
                                                     MOXILA A. UPADHYAYA
                                                     United States Magistrate Judge


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                                       ATTACHMENT A

These procedures will be employed during bench trials before Judge Upadhyaya:

1. Court will be in session from 9:30 a.m. through 5:00 p.m. A fifteen-minute break will be taken in
   the morning and afternoon, and an hour will be allowed for lunch.

2. If counsel have any “housekeeping” matters to raise, they will be taken up at the end of each day.

3. Counsel are required to have a steady stream of witnesses ready at all times.

4. All witnesses must be addressed by title (e.g., Mr., Ms., Dr.) and their surname rather than by first
   name.

5. Examinations must be conducted from the podium. Counsel may roam the well of the courtroom
   during openings and closings. Counsel may not use demonstrative aids during opening statements
   and closing arguments without advance notice to other parties and permission from the Court.

6. Side-bars are discouraged. Counsel shall note any issue and bring it up at the next break.

7. Counsel shall stand when making an objection.




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